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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

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United States of America Order Governing

‘Extrajudicial Statements

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SAMUEL BANKMAN-FRIED, USDC SDNY
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DOC #:

DATE FILED: 772672023

Pursuant to SDNY Local Criminal Rule 23.1(h), and upon a finding that a narrowly drawn
order governing extrajudicial statements by the parties is the least restrictive corrective measure to
ensure a fair trial, the Court orders as follows:

1. The parties in this case, their attorneys, and their agents are prohibited from publicly
disseminating or discussing with any public communications media anything about the case witel
coutt-interfere-with-a-fetial, including statements about the identity, testimony, or credibility of
prospective witnesses, information that has not been deemed admissible at trial, and statements
intended to influence public opinion regarding the merits of this case, The defendant is also
prohibited from causing others, such as surrogates, family members, spokespersons,
representatives, or volunteers, from making such statements on his behalf.

2. For purposes of this order, the prohibition on attorneys extends to the personnel
identified in SDNY Local Criminal Rule 23.1(a), namely, “the lawyer or law firm... non-lawyer
personnel employed by a lawyer’s office or subject to a lawyer’s supervision, private investigators
acting under the supervision of a criminal defense lawyer, and government agents and police

officers.”

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3. The prohibition in this order does not apply to assertions of innocence, or references to
information that is contained either in publicly-filed court filings or transcripts of court

proceedings in this case.

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Dated: New York, New York
July 26, 2023 it,
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THE HON. LEWIS A. LAN
UNITED STATES DISTRICT JUDGE

